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CIVIL INTAKE
VIRGINIA:
IN THE CIRCUIT COURT OF FAIRFAX County 722! DEC. 22. py 2304
0
FAIRFAX HOCKEY OFFICIALS ) cu G cRCUTT SOUR
ASSOCIATION, LLC, ) FAIRFA x, VA
)
Plaintiff, )
) 2021 47540
Vv. ) Case No.
)
CHESAPEAKE BAY HOCKEY )
LEAGUE, INC. )
13800 Old Gunpowder Road }
Laurel, Maryland 20707 )
)
Serve: Deborah Moon, Registered Agent )
8757 Cardinal Forest Circle )
Laurel, Maryland 20723 )
)
and )
)
SOUTHEASTERN HOCKEY )
OFFICIALS ASSOCIATION, INC., }
)
Serve: Bartlett J. Lucas, Registered Agent)
3272 Dutch Mill Ct. )
Oakton, Virginia 22124 )
)
Defendants. )
)
COMPLAINT

Plaintiff Fairfax Hockey Officials Association, LLC (“FHOA” or “Plaintiff’), by counsel,
files this Complaint against Chesapeake Bay Hockey League, Inc. (“CBHL”) and Southeastern

Hockey Officials Association, Inc, (“SHOA”) (CBHL and SHOA collectively referred to as

“Defendants”). In support thereof, FHOA respectfully states as follows.
Parties
1, FHOA is a Virginia limited liability company. FHOA is owned by Mr. Mark

Chapman (“Mr. Chapman”).
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2. CBHL is a corporation organized under the laws of Maryland. CBHL has a
principal place of business in Laurel, Maryland and transacts business in the Commonwealth of
Virginia.

3. SHOA is a corporation organized under the laws of Maryland. SHOA has a
principal place of business in Baltimore, Maryland and maintains a registered office in Fairfax
County, Virginia. SHOA is registered to, and does, conduct business in the Commonwealth of
Virginia.

Jurisdiction & Venue

4, This Court has jurisdiction over this matter pursuant to Section 17.1-513 of the
Code of Virginia.

5. CBHL is subject to personal jurisdiction in this Court because it transacts business
in Virginia, enters into contracts in Virginia, and has caused harm in Virginia.

6. SHOA is subject to personal jurisdiction in this Court because it transacts business
in Virginia, maintains a registered office and registered agent in Virginia, enters into contracts in
Virginia, and has caused harm in Virginia.

7. Venue is proper in this Court pursuant to Section 801-262 of the Virginia Code as
well as Section 59.1-9.9 of the Virginia Code.

Facts
8. CBHL is an organization that governs, oversees, and regulates youth hockey

throughout the District of Columbia, Maryland, and Northem Virginia region (“DMV”). The
CBHL has youth hockey club teams all over the DMV.
9. CBHL is the premier organization governing youth hockey in the DMV. The

overwhelming majority of youth hockey clubs in the DMV are affiliated with the CBHL.
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10, SHOA is an entity that Provides USA Hockey certified officials to ice rinks
throughout the DMV to officiate youth and adult hockey games.

It. Mr. Chapman is a USA Hockey-certified hockey official and USA Hockey
officiating instructor with 13 years’ experience.

12, Mr. Chapman was an independent contractor with SHOA from 2008 through 2021.
During this time, Mr. Chapman officiated thousands of ice hockey games in the DMV.

13, In 2018, Mr. Chapman founded FHOA to provide ice hockey officials to ice rinks
throughout the DMV, From 2018 until 2021, Mr. Chapman continued to be affiliated with SHOA,
until he was formally removed from SHOA on March 16, 2021.

14, On or about June 1, 2018, FHOA contracted with Fairfax Ice Arena to provide
officiating services for recreational hockey games (‘Fairfax Contract”).

15. The Fairfax Contract was entered into after the Fairfax Ice Area was unable to agree
on terms to continue receiving similar services from SHOA.

16. Mr. Tim Fitzgerald and Mr. Scott Zaban, SHOA representatives and schedulers,
Stated that Mr. Chapman and FHOA “stole Fairfax from SHOA.” At this point, SHOA (in
particular, its Virginia schedulers) would not schedule officials to officiate games if officials were
affiliated with both SHOA and FHOA, despite the fact that being a member of SHOA and entering
into an Independent Contractor Agreement with SHOA did not prohibit an official from being
affiliated with other officiating associations, such as FHOA.

17. On or about September 8, 2018, CBHL and SHOA entered into an agreement
whereby SHOA would provide ice hockey officials to all CBHL games (“Exclusivity
Agreement”). A true and accurate copy of the Exclusivity Agreement is attached hereto as Exhibit

1.
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18. The Exclusivity Agreement contained an “Exclusivity Clause,” which states in full:

SECTION 1, EXCLUSIVE RIGHTS .., CBHL and each member Club listed in Exhibit

B (“Club”), hereby constitutes and appoints SHOA to be its sole and exclusive

representative to schedule officials for all league, tournament, and playoff games

in Maryland, Northern Virginia, and Washington D.C. to be played at the Rinks

listed in Exhibit C subject to the terms and conditions hereinafter contained. SHOA

hereby accepts such appointment upon the terms and conditions contained herein.

19. Exhibit B, referenced in the exclusivity clause, listed 19 club teams in the DMY;
the only exclusions were clubs in locations where SHOA does not operate.

20. Exhibit C, referenced in the exclusivity clause, listed 30 ice rinks in the DMV,
without any exclusions.

21. The Exclusivity Clause, created after FHOA obtained the Fairfax Contract,
prohibits any other entity from providing ice hockey official services for the 19 club teams
throughout 30 ice hockey rinks.

22. The Exclusivity Clause constitutes an unlawful restraint of trade or commerce in
the Commonwealth of Virginia.

23. On or about June 5, 2019, FHOA entered into a contract with ION International
Training Center (“ION”), a new ice facility in Leesburg, Virginia, to provide officiating services
for all hockey games scheduled by ION (“ION Agreement”).

24, ION sponsors a youth travel hockey program called the Loudoun Knights (formerly
the DC Nforcers),

25. In 2020, the CBHL accepted the Loudoun Knights’ membership application on a
“provisional” basis. Clubs newly admitted to the CBHL are in provisional status for at least two

years. Provisional teams cannot play in the CBHL playoffs. For the 2020-2021 CBHL season,

the Loudoun Knights were permitted to have two of its teams play provisionally. For the 2021-
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2022 CBHL season, the Loudoun Knights were permitted to have all of their teams play
provisionally,

26. Because the Loudoun Knights were in provisional status with CBHL, ION was
forced to use SHOA ~ and not FHOA — to officiate games for any CBHL-provisional Loudoun
Knights team (two teams for 2020-2021 and all teams for 2021-2022). Thus, by the middle of
2021, FHOA was not permitted to officiate any youth hockey games at ION.

27.  CBHL told ION that ION could not join the CBHL unless it terminated its contract
with FHOA. ION, unwilling to risk its provisional status with CBHL, submitted to CBHL’s
coercion, threats, and undue influence, and terminated the ION Agreement and its business
relationship with FHOA.

28. CBHL’s and SHOA’s enforcement of the Exclusivity Clause constitutes wrongful
interference with the ION Agreement.

Count I - Violation of Virginia Antitrust Act (Va. Code § 59.1-9.5)
(CBHL and SHOA)

29. FHOA restates and incorporates by reference the allegations in paragraphs 1-28 as
if fully restated herein.

30. The Exclusivity Clause in the Exclusivity Contract constitutes an unlawful contract
in restraint of trade or commerce in the Commonwealth of Virginia pursuant to Section 59.1-9.5
of the Virginia Code.

31. The Exclusivity Clause represents an agreement between two separate entities:

CBHL and SHOA.
32, The Exclusivity Clause unreasonably restrains trade and suppresses and destroys
competition in the ice hockey officials’ industry throughout the DMV.

33, FHOA and consumers have been injured by the unlawful Exclusivity Clause.

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34, FHOA has lost specific customers that it otherwise would not have (i.e., ION), and

has been largely locked out of the DMV youth ice hockey officiating market.

35.  CBHL governs nearly every single ice hockey club in the DMV, and the Exclusivity
Clause with SHOA results in SHOA being the only available entity to schedule and arrange for ice
hockey officials.

36.  FHOA is effectively prohibited from engaging in business in the DMV due to the
Exclusivity Clause.

37. Consumers are also injured by the Exclusivity Clause. Indeed, FHOA has heard
ice rink managers and hockey club representatives express displeasure with SHOA and claim that
they would prefer not to use ice hockey officials from SHOA. In addition, ice rinks and hockey
clubs across the DMV have been forced to cancel hockey games because SHOA is unable to staff
them and they cannot contract with FHOA for CBHL games. Therefore, the Exclusivity Clause
harms consumers as well as FHOA,

38. The Exclusivity Clause’s anti-competitive effect has caused damage to FHOA,
including, but not limited to, lost profits.

39. Pursuant to Section 59.1-9,12 of the Virginia Code and Rule 3:25 of the Rules of
the Supreme Court of Virginia, FHOA is entitled to recover its actual damages sustained, its costs
incurred in the litigation, and its reasonable attomey’s fees,

40. FHOA should also be awarded treble damages pursuant to Section 59.1-9,12 of the

Virginia Code because the conduct by Defendants regarding the Exclusivity Clause is willful.

WHEREFORE, as to Count I, Fairfax Hockey Officials Association, LLC, by counsel,
respectfully requests that this Honorable Court award the following relief: (i) enter judgment

against CBHL and SHOA for violation of the Virginia Antitrust Statute under Count I, (ii) issue a
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permanent injunction declaring the Exclusivity Clause unlawful, and finding the same void and
unenforceable, (iii) award compensatory damages in favor of FHOA against CBHL and SHOA,
jointly and severally, in an amount to be proven at tria] but in no event less than $150,000, (iv)
award treble damages, (v) award FHOA its reasonable attorney’s fees and costs pursuant to Rule
3:25 and Va. Code § 59.1-9.12, (vi) award FHOA post-judgment interest at the legal rate on
compensatory damages, and (vii) grant any and all further relief that the Court deems just and
proper.

Count II - Tortious Interference with Contract (ION Agreement)
(CBHL)

41. FHOA restates and incorporates by reference the allegations in paragraphs 1-28 as
if fully restated herein.

42. The ION Agreement constitutes a valid and enforceable contract between JON and
FHOA.

43. CBHL had knowledge of the ION Agreement and knowledge of its general terms,
including the fact that ION contracted with FHOA.

44. CBHL wrongfully interfered with the ION Agreement and coerced ION to
terminate the ION Agreement before its expiration, thereby harming FHOA.

45. | FHOA has been damaged by CBHL’s intentional interference with the ION
Contract.

46. | CBHL caused ION to terminate the ION A greement through improper means.

47. CBHL’s improper methods of interference included wrongly using its position of
authority over ION to harm FHOA. In other words, CBHL threatened that if ION did not terminate

the ION Agreement, then ION could not solidify its membership in the CBHL. CBHL used its
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position of authority to force ION to use SHOA as the choice for assigning and scheduling officials
for the hockey games, to the detriment of FHOA.

48. CBHL also employed undue influence over ION to force ION to terminate the ION
Agreement, in the manner described in the preceding paragraph.

49. CBHL’s conduct was unethical, constituted unfair practice within the trade, and
violated the established standard in the ice hockey official association profession.

50. FHOA was, and continues to be, damaged by CBHL’s intentional interference with
the ION Agreement.

WHEREFORE, as to Count II, Fairfax Hockey Officials Association, LLC, by counsel,
respectfully requests that this Honorable Court award the following relief: (i) enter judgment
against CBHL for tortious interference with contract under Count II, (ii) award compensatory
damages in favor of FHOA against CBHL in an amount to be proven at trial but in no event less
than $150,000, (iii) grant any and all further relief that the Court deems just and proper.

Count ITI - Civil Conspiracy (Va, Code § 18,2-499 and 500)
(CBHL and SHOA)

51. FHOA restates and incorporates by reference the allegations in paragraphs 1-28 as
if fully restated herein.

52,  CBHL and SHOA combined together with the intention of injuring FHOA in its
business and trade. CBHL and SHOA acted witha retaliatory intent, acted pursuant to an unlawful

Exclusivity Clause, and tortiously interfered with the ION Agreement. CBHL and SHOA also

“blackballed” FHOA in the DMV ice hockey officials’ industry and intentionally sought to exclude
FHOA from competing in the industry through undue influence, coercion and pattems of behavior
that violate the standard in the industry.

53. CBHL and SHOA acted willfully and maliciously.

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54. CBHL and SHOA entered into the Exclusivity Agreement with the specific
intention of “blackballing’ FHOA and prohibiting FHOA from competing in the ice hockey
officiating market throughout the DMV.

55. | CBHL and SHOA came to such agreement to unlawfully injure FHOA and did so
in retaliation against FHOA for engaging in lawful competition.

56. | CBHL and SHOA acted purposefully, intentionally, and without legal justification.

37. Pursuant to Section 18.2-500(a) of the Virginia Code and Rule 3:25 of the Rules of
the Supreme Court of Virginia, FHOA is permitted to recover treble damages, costs incurred
related to the lawsuit, and its reasonable attorney’s fees.

WHEREFORE, as to Count HI, Fairfax Hockey Officials Association, LLC, by counsel,
respectfully requests that this Honorable Court award the following relief: (i) enter judgment
against CBHL and SHOA for violation of Va. Code § 18.2-499 and 500 under Count III, (ii) award
compensatory damages in favor of FHOA against CBHL and SHOA, jointly and severally, in an
amount to be proven at trial but in no event less than $150,000, (iii) award treble damages, (iv)
award FHOA its reasonable attorney’s fees and costs pursuant to Rule 3:25 and Va. Code § 18.2-
500(a), (v) award FHOA post-judgment interest at the legal rate on compensatory damages, and

(vi) grant any and all further relief that the Court deems just and proper.
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Respectfully submitted,

FAIRFAX HOCKEY OFFICIALS
ASSOCIATION, LLC
By Counsel

ds/ Stephen D. Caruso

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Stephen D. Caruso, Esq. VSB No. 87376
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mearr@beankinney.com
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Phone: (703) 525-4000

Fax: (703) 525-2207

Counsel for Plaintiff

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Contract between Southeastern Hockey Officials Association, Incorporated {SHOA)
and the Chesapeake Bay Hockey League, Incorporated (CBHE)

May 1, 2018 - April 30, 2020

The Southeastern Hockey Officials Association, Incorporated, a corporation duly organized and
existing under the laws of the State of Maryland (hereinafter referred to as SHOA) and the
Chesapeake Bay Hockey League, (ncorporated, an organization organized under the laws of the State
of Maryland, (hereinafter referred to as CBHL) do voluntarily enter into the following agreement on
this the first day of May 1, 2018,

SECTION 1, Excwusive Fucus

In consideration of the mutual promises and agreements hereln contained, CBHL and each member
Club listed in Exhibit B (“Club”), hereby constitues and appoints SHOA to be Its sole and exclusive
representative to schedule officials for all league, tournament, and playoff games in Maryland,
Northern Virginia, and Washington D.C to be played at the Rinks listed in Exhibit C subject to the
terms and conditions hereinafter contained, SHOA hereby accepts such appointment upon the terms
and conditions herein contained.

SECTION Z. USA Hocxey REGISTRATION AND Rosteas

1) All CBHL teams, coaches, and players as defined by USA Hockey (USAH), must be properly
registered with USAH before any officiating services will be provided.

2} Each game officiated by SHOA officials shall be played between two teams of the same USAH age
classification unless specifically authorized in writing by the CBHL Commissioner or Director end
the SHOA Vice President for Operations with the exception for 16U and 18U teams playing non-
league games against each other. The CBHi will hold harmless SHOA from any and all loss or
lability arising out of CBHL's or member Club's failure to ensure that the registration
requirements set forth by USAH have been met by all participants,

3) Club agrees to have rosters filled out prior to each game with all players’ names, USAH
registration numbers, uniform sweater numbers snd coaches’ names and coaching certification
oumbers. This information shail appear on euch gaine’s score sheet.

Section 3. Officials

1} Officials agree to perform services under the terms of this agreement as Independent Contractors
(IC) and not as agents or employees of SHOA.

2) SHOA will ensure that all officials are properly registered with USAH and that they have met all
of che requirements set forth by USAH for officials before any games. SHOA agrees to act as an
agent for offidals properly registered with USAH and will assign officials, to the dest of Its abllity,
within the USAH Assignment Guidelines listed! in the USAH Hockey Officials website.

3) sa agrees to act as an Intermediary between officials properly registered with USA Hockey
and Clubs.

4) CBHL agrees to act as an intermediary for its Club teams, to include coaches, managers, and
parents as set forth in Exhibit B,

5) SHOA agrees to schedule, to the best of its ability, at least two (2) officials to all games. SHOA will
schedule three (3) officals for Midget Travel games and, at Club request, House/Rec level,
Officials are expected ta present themselves at the arena 30 minutes before the game and be
available for an early yame start 15 minutes prior to the scheduled time if rink and team

 

 

EXHIBIT
1

 

 

 
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av ullability presents itself, For the CBHL playoffs, officials will be at the arena 45 minutes prior
to che game startin order to support a 30 minute early start,

6) CEHL sgrees on behalf of itself and Its teams that pelther SHOA nor any of its member officials
shatl be hetd lable for any mistakes of judgment, negligence, or otherwise, by any member officiat
mude in an official capecity,

7} In che event thet only one (1) SHOA official i present to officiate a game, the game will be played
provided the coaches fram bath teams agree prior to the commencement of the game to waive

 

both teams on the official score sheet Prior co the commencement of the game. At the Midget
Travel level, the game will have at a minimum, two {2) SHOA officials. Where games are not
Played due to the improper number of officials, the official fees will be adjusted in accordance
with Section 6 of this agreement,

8) Member Clubs will have the option to utilize two (2), three (3), or four (4) officials for Midget
travel games. Under the three (3} offictal system, the one (1} Referee and two (2) tinesman
dynamic will be utilized, Under the four (4) officia! system, the ewo (2) Referees and two @
Unesman dynamic will be utilized, If the member club would Uke to utilize any option different

days advanced notice prior to the subject game In order to ensure adequate staffing.

5) CBHL agrees, on behalf of itself snd its member Clubs, to be bound by and comply with, and If
necessary, enforce alt USAH rules applicable to all games covered by this Agreement
Notwithstanding the foregoing, CBHL or any individual Club may, at its discretion, strengthen
USAH rules but may rot in any way, alter thera in such a fashion 19 diminish or lessen them.

10) Upon receipt of the fees provided for In this Agreement, from a CBHL member Club ta SHOA,
SHOA shall be solely responsible for the compensation of all officiats working Club games, SHOA
shall see to the compliance with applicable federal and staty Income tax laws and regulations end
Shall indemnify and hold harmless CBHL and each of its officers individually, and each individual
Club, with respect to such compliance,

11} In the event of any misconduct Involving any CBHE player, conch, team official, parent, guardian,
or spectator, SHOA shall have the right to present & complaint, In writing, to the CBHL
Commissioner, Sald complsint shail be investigated and adjudicated In accordance with the
League and Civb procedures, SHOA may also make appropriate recommendations to the
Commssloner or Club Director where it deems appropriate and in accordance with guidelines
established by USA Hockey.

12) During the term of this agreement and provided that each Club shall be registered with USA
Hockey, CBUL agrees that ezch Club shal! ablde by end enforce ali findings of the PVAHA
Disciplinary Committee In all matters referred to thelr attention,

13) Assault on Officials
4) The Club agrees to honor all reciprocal Suspenstons that have been reviewed by a disc: plinary

committee fram which the offending party was involved at the Ume of the incident in
accordance with USA Hockey,

14) SHOA shall provide an electronic form for leaving compliments, questions, or general complaints
on ite website, SHOA shall respond to such commentary in writing within ten (10) business days,
Club personnel may complain about the gencral competency and/or attitude of s SHOA official
through the Club to the CBHL Commissioner who shall contact in writing the SHOA President and
Vice President, Opersctons. SHOA shall immediately investigate such complaint in accordsnce
with SHOA rules and Procedures and shall offer any remedial or corrective actions Ii deems
appropriate to remedy the issue jn writing within ten {10) business days. Ifafter a reavonable
opportunity for improvement/correction, the matter Is not resolved to the reasonable
satisfaction of the CBHL Commissioner and to the SHOA Vice President, Operations, the CBHL

 
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My request the officis! in question no longer work any remaining games (n the then current
Season and SHOA shall honor such request.

15) The Club agrees to provide a scorekeeper and or dmekeeper for each game who shall serve as
oft Ice officials. Off-ice officials area part of the officiating team and are guided in their duties by
the USAH Qfi-lce Offtciats Manual availabla on the USAH website ar
he P://asseta.ngin.com /sttachments/document/0042/4265/0ff-Ice_ Officiating Manual_1_ pdt.

14)SHOA agrees to clearly and legibly list officiats names and certification levels on the CBHL Club
scure sheet. Following the game, the offictal(s| will verify scores and penalties and sign the score
sheet. For game Suspending penalites, the officials wilt prepare a short report on the back of the
primary page of the score sheet,

SECTION 4. INTERPRETATION

The Constitution, bylaws, and rules and Fegulations of both SHOA and Club shalt be used as a
reference and sources of Information as needed. Each organization shall mzintain an up-to-dite copy
of each of these references.

SkeTion §. Screnunine

1) It:3 agreed that both SHOA and Club shall provide at least one (1) scheduler for all regular season
and playoff games played at the Club's home rok. Both SHOA and Clubs shall notify each other
of thelr respective schedulers by August 1 of the given calendar year,

2) The Club Scheduler shail provide SHOA with une copy of the Club Master Schedule for all games
by September 1 of each year for Fall/Winter league games and Aprit 1 for Spring/Summer league
anes,

3) Games added subsequent to the submission of the Master Schedule must be submitted to SHOA
at ieast 7 days prior to the scheduled fame date.

4) Chibagrees to pay che full game rate for any game canceled snd confirmed by the SHOA Scheduler

 

§ and,
depending upon the availability of officials, shail schedule officials for Club games that are
scheduled to start before 4:00 p.m. Monday through Friday, or before $:30 am. or after 10:50
p.m. of any day. SHOA will attempt to accommeadate officiating services outside these normal dime
parameters. Such requests, if fled, shall Incur the Surcharge set forth in Seetion 6, Paragraph 3.

| 6) Club will hold SHOA harmless should officials be unavailable for games scheduled before 4:00

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p.t1, Monday through Friday, or before 5:30 a.m. or after 10:50 p.m, of any day.
7) SHOA will de fully responsible for tee costs for those games which have been Property scheduled

SECTION 6, Fees

1) Each Club, and not CBHL, shall be solely respensible for payment of fees forall league games that
they schedule with SHOA,
2) The rates for all league. non-league, tournemrnt and playoff gamea are listed in Exhibit A

 
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3) Any gamez scheduled to begin before 5:30 am.or after 10:56 p.m. shall incwra $10.20 ay
per game. Games scheduled at Easton (Talbot County Community Center) will carry a $10.20 per
game surcharge

4) Games shortened due to the application of certain time-constraints related to Club tules, speciai
tournament rules, or for any other reason, shall not result in any reduced pay rates.

5) For any game that is officated with only one {1} official, Club shall pay one-half (1/2) of the rate
outlined in Exhiblt A. For any game scheduled prior to 4:00 p.m. on Monday through Friday, or
where one official only is requested by the (lub, Club shall pay the full game rate cutlined in
Exhibit A.

6) Any game added to the schedule and conumvnicated to the appropriate SHOA Scheduler by the
Chub less than seven (7) days before the game Is to be played shall incur en additional charge, not
to exceed $50.00, provided SHOA is able to provide officials.

7) The late game addition fee shall be walved by the Vice President of Management or President of
SHOA under the following circumstances:

a) All instances where the original subject game was canceled due to weather related closings,
rink shut downs, or Acts of God and are rescheduled within seven (7) days of such
cancellation or,

b) Where the Club rink scheduler submitting the addition has submitted fewer than 3 game
addidons within 30 days priar to the submission of the current addition. Notwithstanding
this proviston, the late game addition fee will not be waived In instances where less than 12
hours notification Is provided.

¢) Further, this fee may be walved at the discretion of the Vice President of Management or
President of SHOA.

8) The fees in Exhibit A shall be reviewed ennually by March 30th of each succeeding year of this
agreement with notification to the CBHL Commissioner of an anticipated increase.

9) The fees in Exhinit A arc effective from 5/1/2018 through 4/30/2020,

SECTION 7. BILLANG

 

1) CBHL agrees to provide SHOA a tisting of all Club contacts, phone numbers and email addresses
Prior to the current season, but not later than August 1.

2) SROA will provide each Club an estimate of its total season's fees prior to the start of the season
based upon game counts from each Member Club, Along with the estimate, SHOA will provide s
Suggested payment echedule for prepayments of officiating fees. The prepayment of fees by Ciubs
Is paramount to the success of SHOA being abte to pay officials in » Umely manner, For Clubs who
choose to pay thelr invoices at the end of the current month, payment must be recelyed by SHOA
Ao later than the 109 of the succeeding month. SHOA will provide each Club with their monthly
Invoice either electronically or via the US Postal Service, All SHOA invoices have payment terms
of Due upon Receipt. In nc event will an error or omission Jn billing by SHOA ever constitute a
release of financial obligation upon the Club,

3) Should Club payments be more than fifteen {15) days late {Le, received later than the fittsenth of
the month following the conclusion of the previous month's games), Club agrees to pay a
surcharge of two (2) percent per month of the outstanding balance, Should any payment be
Overdue by more than thirty (30) days after the month just concluded, SHOA reserves the right
to remove officials and cease the scheduling of officials assigned to Club games {home ard away,

league or nonteague) until such time as Full payment is made, Additionally, SHOA reserves the
right to alter the invotcing tarms of the contruet to demand payment in advance should Club fail

to make payment on any outstending Invoice more than 30 days past due.
4) SHOA will assess 2 charge of $50 for any check returned for Insufficient funds.

 
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5) Checks shall be made payable to SHOA, Inc, and shall be sent to che SHOA Treasurer, the name of
whom shall be provided to Club at the beginn-ng of each season. The official malling address for
SHOA Is;

Southeastern Hockey Offictals Association, inc.
6400 Baldmore National Pike 170-4 #332
Baltimore, MD 21228

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A season ending reconciliation report and finel invoice shall be delivered to the CBHL member
Clibs by SHOA no later than February 1" which shall detail any remaining balance due SHOA for
additions, deletions or other changes that may have occurred during the season. All clubs must
be in full with SHOA effective December 31", if the CRHL member Club's payment for offictating
services ls greater than the total charges, SHOA shall refund the difference with the reconciliation
report. If CBHL member Club's charges are greater than (ts payments, the CBHL member club
shall remit the balance to SHOA within thirty (30) days of receipt of the reconciliation report.

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SECTION 8. TOURNAMENTS

1) All tournaments scheduled by Club shall be cleared with SHOA as to SHOA's ability to schedule
officials at least forty days (49) prior to the start of the tournament.

2} A complete tournament schedule shall be provided to both the SHOA Treasurer and Scheduler at
lenst fifteen (15) days prior to the start of the tournament.

3) The SHOA Treasurer shall compute an estimated bill based on the schedule provided to him. Club
shall make full payment of such estimated bill to the SHOA Treasurer prior to the start of any
tournament, subject to the terms of reconcillation as set forth In Section 7.1 of this Agreement

4) All league and league playoff games will be Biven precedence over any taumament game,

SECTION 9, GAME OPERATIONS

1) For ail game assignments, the scorekeeper/timekeeper will inform the offictals of the ice slot
times. Officials will be bound by these times and employ CBHL curfew procedures except where
noted at the start of cach season, If the game exceeds the stated time due to unforeseen
circumstances, and the rink is willing to let the game continue, the officials will stay to complete
the game for up to 15 additional minutes.

2) Man official is a late arrival, SHOA requests that the clock game time be noted on the scoresheet
and reported to the Club Scheduler who shalf Inform the CBHL Scheduler and the SHOA Vice
President for Operations.

3) Prior to the game, the officials wil conduct standard USAH Pre-Game Procedure protocols,

4) [tis expected that upon a player entering onto the Ice, coaches have Inspected their players’ safety
equipment~mouth guard: helmet, tage/shield; chin and helmet/mask straps; goalle cages,
gloves, and pads--and thereby certifies through the presence of each player, being rostered and
on the Ice, that the ptayer is in conformance to the USAH Rules of Hockey and current HECC
certifications. Failure to adhere to the rules may result In penalties for the equipment violation,

5) Officials will conduct their assignment in accordance with thelr USAH training.

6) Following the game, the officials will conduct standard USAH Post-Game Procedure protocols for
Certifying the reeulis of the game.

7) Mf necessary, the offical wilt complete any required game reports within 48 hours except for
Assault on Official reports which must be submitted within 24 hours.

 
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SECTION 10. Game REPORTS

1) SEOA shall provide Game Reports to the CBHL within three (3) days of an event. Game Reports '
shall document incidents that mandate suspensions, serious injuries, unsafe playing conditions,
Spectator or coaching issues and fncidents, It is acknowledged that an official may not be aware
of any or all serious injuries that occur during an event.

2) The CBHL will designate a sole source of contact for Game Reports, Distributien of these Games
Reports within the CBHL to disciplinary committees and statisticians and others shall be the sole
responsibility of the CBHL.

3) The CBHL contact or specifically appointed designee may contact SHOA through the Vice
President for Operations for any clarification of information on a Game Report. SHOA will not
respond to requests from other than the designated contact,

SECTION 11, Force Majeure

Neither party shall be lable or responsible in apy manner to the other for failure or delay to fulfill
any part of its obligations under this agreement when such fallure or delay Is due to fires, strikes, acts
of God, war, legal acts of public authorities, or delays or default caused by public carriers, or for any
other causes which cannot reasonably be forecasted or provided against. ;

SECTION 12. EFFECTIVE DATE AND TERM

This agreement shail be effective as of the day and year first above written, and shall continue in
effect until April 30, 2020 and thereafter, from yearto year for two (2) additional years, unless elther
party shall have given written notice of termination to the other party not less than thirty (30) days
prior, Notwithstanding the forgoing, SHOA shall notfy CBHL no tater than March 3 1, 2020 its intent
to renew for the next annual term, and the parties shall negotiate new rates for the folowing term.

 

Section 13, Liapiuity

CBHL agrees to hold SHOA, and SHOA agrees to hold CBHL, free and harmless from any liability, claim
of lishitity, damages, costs and expenses, Including attorneys’ fees, for claims made by any third party
or parties artsing out of or related to any agency agreement executed or claimed to have been
executed prior to the date of execution of this agreement,

SECTION 14, GOVERNING Law

This Agreement shall, in all matters concerning the validity, interpretation, and performance issues
existing between these parties be construed, interpreted, and governed by the laws of the State of
Maryland, United States of America,

Section 15. Notices

All notices shall be sent by registered mail by elther parties to the other address shown above or such
other address provided hereafter. Changes of eddress will be sent by regular mail to the Ingt known

address giving thirty (30) days advance notice before the effective date.
SECTION 16. ASSIGNMENT AND ENFORCEMENT

1} SHOA shall reserve the right to assign this agreement, in total, to eny successor Organization to
SHOA and CBHL hereby agrees and grants said assignment authority to SHOA.
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2) The provisions of this agreement shall be binding upon the parties and the respective successors
and assigns. The failure of a party to enforce this agreement shall not be construed as a walver of
any provision or the right of such party thereafter to enforce each and every provision of this
agreement.

SECTION 17, ENTIRE AGREEMENT

‘The terms and conditions herein contained constitute the entire agreement between the parties and
shall supersede all previous communications, either oral or written, between the parties, relating to
the subject matter herein, and all such agreements or arrangements are hereby rescinded, and no
agreement or understending varying or extending the same shall be binding upon either party hereto
unless in writing. signed by a duly authorized officer or representative thereof, in which writing this
agreement is expressly referred to,

IN WITNESS WHEREOF, the parties hereto have caused this agreement to be signed and executed in
duplicate by their duly authorized representative on the day and the year first written above,

——_—_______
Name: Joshua D, Weikers Name: Debbie Moon

Title: Vice President, Management Title; CB missioner
Date: 9/7/2018 Date: aane

Please mail the signed contract to;

Southeastern Hockey Officials Association, Inc.
C/O VP, Management

6400 Baltimore National Pike 170-4 #332
Baltimore, MD 21228
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Exhibit A Officieting Game Rates (Effective 5-1-2016 through 4-30-2020)
Billing Rates to User Clubs (includes scheduler foes)
Effective 4/30/2018 - 5/1/2020

Level 2-officlals 3-officials 4-officiais —t-official
CBHL Clubs (League and Non-League} Non-Playoff ‘Includes Giria*
SU (Lower House) $64.20
8U Jamboree (1.5-hour

8U Jamboree (3-hour stot) $ 163.20

 

10U $93.00 $46.95
12U $ 108.10 $ 53.05
14U $ 113.30 $ 56.65 i
Giieune Meee & $128.60 $1748 $208.08 $64.80
CBHL Clubs Playoff Rates
10U $ 104.10
12U $ 116,30
14U $ 123.50

16U and 18U (Midget) $130.80 $187.68 $208.08 $69,S0

 
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Maryland
Baltimore
Chevy Chase
Frederick
Harford
Metro

Navy

Tri City

Virginia
Ashburn
Piedmont
Reston

Caps Academy

Blue Ridge
Hampton Roads
Richmond
Peninsula

Exhibit C SHOA Rink Coverage

Bawie Ice Arena

Capito! Clubhouse (Waldorf)
Chevy Chase Country Club
Hagerstown ice Arena

ice World, Bel Air Md
Patterson Park ice Rink
Reisterstown Sportsplex
Skate Frederick

The Gardens Ice House
Wheaton Ice Rink

Fort Dupont

Virginia

Ashburn Ice House
Haymarket Iceplex

Mt Vernon Recreation Center
Skatequest of Reston

St. James

Leesburg

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ExhibitB Cleb Teams

Bowie Hockey Club, Inc
Easton

Hagerstown

Howard

Montgomery

Southern Maryland

Northern Virginia
Prince Willlam

Cabin John Ice Rink

Columbia Ice Rink

Dr. John J. McMullen Hockey Rink (Navy)
Herbert Wells (College Park)

Mt. Pleasant Ice Arena

Piney Orchard Ice Arena

Rockville Ice Arena

Talbot County Community Center
Tucker Road Ice Arena

Verizon Center

Fairfax Ice Arena (as may be permitted}
Kettler - Ballston
Prince WilHam Ice Center

 

 
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Addendum to extend contest to September 1, 2020

Contract betwoan Seuthunstinn Hockwy Otidaty Asepedetian, bacodporated (HOA) ond thee
Chatanauke Buy Hockey League, tnearporated (Cort)
May 1, 1024 = Agett 80, 2030

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Tivesagoahe Bay ttockey Leopard, Incorporated, an orgardzetion drganited under the teen af tha
Hate Of Maryland, Inuceinalign eoterrad Ww as CBUES Yo voluntenly etter lity the fullawing
Apreorions on this the fret day of May j, 20te

hrestousty siprud on Apel 27", 2018, untlf fogitansbns 4, 2026, at perkinert rights ane dotaite of
sald hyroernent will camtlae in Fores anti the new date of Septouber 1, 2020, This extenuan bp
hereby agreed to by ttt parties affcetive Agel 24, 7070.

ACCELTER ‘
Tor’ Southoosteradteshey Oificiats Avan tic, rot yernke

wh hate - f Lien
Hainn: Clumepher Olets Name: Cehote Mood
Hue: Vice #eosidurit, Managurneny Tithe: COWL, Commmisoner

hate: a¢z/dor0 Date: 4/1/2025

 
       

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Second Addendum to extend contract to April 30, 2021

Contract between
Southeastern Hockey Officials Association, Incorporated (SHOA) and the
Chesapeake Bay Hockey League, incorporated (CBHL)
May 1, 2018 - April 30, 2020

Addendum 2: Extension to April 30, 2021
Addendum 1: Extension to September 1, 2020

The Southeastern Hockey Officials Association, Incorporated, a corporation duly organized and
existing under the laws of the State of Maryland (hereinafter referred to as SHOA) and the
Chesapeake Bay Hockey League, Incorporated, an organization organized under the laws of the
State of Maryland, (hereinafter referred to as CBHL) do voluntarily enter into the following
agreement on this the first day of May 1, 2018,

Addendum 2: Effective on August 31, 2020, the Chesapeake Bay Hockey League (CBHL, hereafter

the “client’) and the Southeastern Hockey Officials Association (SHOA), a corporation duly
organized and existing under the laws of the State of Maryland, do hereby extend the contractual
agreement previously signed on April 27th, 2018, until April 30, 2021. All pertinent rights and
details of said agreement will continue in force until the new date of April 30, 2021. This extension
is hereby agreed to by both parties effective August 31, 2020.

Both parties shall retain the right to mutually agree to adjustments to the game rates provided
In Exhibit A for the fife of the addendum {Sept 1 2020 to April 30 2021), with the intent of

managing any challenges as clubs resume play after the outbreak of the Novel Coronavirus
(COVID-19),

Addendum 1; Effective on April 2", 2020, the Chesapeake Bay Hockey League (CBHL, hereafter
the “client”) and the Southeastern Hockey Officials Association (SHOA), a corporation duly
organized and existing under the laws of the State of Maryland, do hereby extend the contractual
agreement previously signed on April 27*, 2018, until September 1, 2020. All pertinent rights and
details of sald agreement will continue In force until the new date of September 1, 2020. This
extension Is hereby agreed to by both parties effective April 2", 2020,

ACCEPTED

For: Southeastern Hockey Officials Assn. Inc, For: Chesapeake Bay Hockey League, Inc,

t.
Q hall \ Nhe ah
Name: Christopher Dietz Name: Debbie Moon

Title: Vice President, Management Title: CBHL, Commissioner
Date: April 30, 2020 Date: April 30, 2020
